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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §    CASE NO. 1:05-CR-136(4)
                                                 §
YONGUE JOHN GROGAN                               §

     MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

         Pending before the Court is Defendant’s Motion for Government to Disclose to the Defendant

the Identity and Contact Information of its Confidential Informant [Clerk’s doc. #77]. The Court

referred the motion to the Honorable Keith F. Giblin, United States Magistrate Judge, at Beaumont,

Texas, for entry of a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(A) and the Local

Rules for the United States District Court for the Eastern District of Texas. See Order [Clerk’s doc.

#123].

         Having conducted the proceedings in the form and manner prescribed by the Federal Rules

of Criminal Procedure, the magistrate judge issued his Report and Recommendation on the motion

for disclosure [Clerk’s doc.#177]. Judge Giblin recommended that the Court deny Defendant’s

Motion for Government to Disclose to the Defendant the Identity and Contact Information of its

Confidential Informant.


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        Defendant timely filed objections to the magistrate’s recommendation. See Defendant’s

Objections [Clerk’s doc. #183]. In the Objections, Defendant specifically contends that the

magistrate judge misapplied Roviaro v. United States1 and United States v. Edwards2 to the situation

in this case. See Objections. He also argues that, under Franks v. Delaware3, he has a Fourth

Amendment right to attack the accuracy of the search warrant at issue, and, therefore, should be able

to discover the identity of the information for the purposes of a Franks suppression hearing.

            Pursuant to Defendant’s request and in accordance with 28 U.S.C. § 636(b)(1), the Court

conducted a de novo review of the magistrate’s findings, the record, Defendant’s Objections, and the

applicable law in this proceeding. After review, the Court is of the opinion that the Report and

Recommendation should be accepted. Accordingly, the Court ORDERS that Judge Giblin’s Report

and Recommendation [Clerk’s doc. #177] is ADOPTED. The factual findings and legal conclusions

of the magistrate judge are, therefore, fully incorporated by the Court in support of this order. The

Court finally ORDERS that Defendant’s Motion for Government to Disclose to the Defendant the

Identity and Contact Information of its Confidential Informant [Clerk’s doc. #77] is DENIED.

             SIGNED this the 10 day of March, 2006.




                                              ____________________________
                                              Thad Heartfield
                                              United States District Judge


        1
             353 U.S. 53 (1957).

        2
           No. 04-4044, 133 Fed. Appx. 960, 2005 U.S. App. LEXIS 10655, 2005 W L 1349824 (5 th Cir. June 8, 2005)
(per curiam).

        3
             438 U.S. 154 (1978).

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